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- .. . D.c.
IN THE UNITED STATES DIS'I'RICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEE U-:l JUH 20 PH 2: 53
wEsTERN DIVISION
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BRIAN WILSON,
Plaintiff,
VS.

Civ. No. 05-2157-Ma[P

STATE OF TENNESSEE DEPARTMENT
OF TRANSPORTATION, et al.,

Defendants.

 

SCHEDULING ORDER

 

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Pursuant to written notice, a scheduling conference was held
June 16, 2005. Present were Brian Wilson, pro se, and Katherine
Schulz, counsel for defendants. At the conference, the following
dates were established as the final dates for:
MORE DEFINITE STATEMENT: July 15, 2005

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1):
July 15, 2005

JOINING PARTIES: AuguSt 15, 2005

AMENDING PLEADINGS: August 15, 2005

INITIAL MOTIONS TO DISMISS: September 15, 2005
COMPLETING ALL DISCOVERY: DeCember 15, 2005

(a) DOCUMENT PRODUCTION: DeCember 15, 2005

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: December 15, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: OCtOber 14, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: NOVember 15, 2005

(3) EXPERT WITNESS DEPOSITIONS: December 15, 2005
FILING DISPOSITIVE MOTIONS: January 16, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a non-jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately two (2) days.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

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At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02157 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Brian C. Wilson
6034 Chandeleur Drive
Millington, TN 38053--812

Katherine K. Schulz

ATTORNEY GENERAL AND REPORTER (Nashviller)
426 Fifth Avenue North

2nd Floor

Nashville, TN 37243

Honorable Samuel Mays
US DISTRICT COURT

